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 4
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 5   VAN HY VI
 6
                                   UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                               No. 2:07-CR-0059 LKK
10
                                     Plaintiff,
11
     v.
12
     VAN HY VI, et al                                        STIPULATION AND ORDER
13                                                           CONTINUING STATUS CONFERENCE

14                           Defendant.
     _______________________________________/
15
16           IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Mary
17   Grad, counsel for the plaintiff, and below signed counsel in the above mentioned case, that with
18   regard to the status conference now scheduled for June 10, 2008 at 9:30 a.m., is continued until July
19   8, 2008 at 9:30a.m. for status conference, or as soon thereafter as is convenient for the Court. The
20   stipulated reset is requested to afford newly retained counsel, Johnny L. Griffin, III,      time to
21   address issues in Mr. Van Hung Vi’s case.
22           No party objects to the requested continuance.
23           The court interpreter coordinator, Yolanda Riley Portal has been notified and has indicated
24   that July 8, 2008 is an available date for the interpreter’s office.
25
26   //
27   //
28
             Case 2:07-cr-00059-TLN Document 105 Filed 06/06/08 Page 2 of 2


 1          IT IS SO STIPULATED.
 2
     Dated: 6/6/08                                     ___________/s/________________
 3                                                     MARY GRAD
                                                       Counsel for Plaintiff
 4
 5
     Dated: 6/6/08                                     __________/s/_________________
 6                                                     DOUGLAS L. RAPPAPORT
                                                       Counsel for VAN HY VI
 7
 8   Dated: 6/6/08                                     __________/s/___________________
                                                       TIMOTHY ZINDEL
 9                                                     Counsel for TOMMY LY
10
     Dated: 6/6/08                                     __________/s/___________________
11                                                     KRESTA NORA DALY
                                                       Counsel for VAN DAT VI
12
13   Dated: 6/6/08                                     __________/s/_____________________
                                                       OMAR FIGUEROA
14                                                     Counsel for IVY TRAN
15
     Dated: 6/6/08
16                                                     __________/s/_____________________
                                                       JOHNNY L. GRIFFIN, III
17                                                     Counsel for VAN HUNG VI
18
19
20
21                                             ORDER
22
     IT IS SO ORDERED
23          The status conference currently scheduled for 06/10/2008 is hereby RESET to
     07/08/2008 at 9:30 a.m. Time continued to be excluded due to pending motions.
24
25   Dated: June 6, 2008
26
27
28
